19-01294-scc     Doc 17      Filed 08/26/19 Entered 08/26/19 18:39:09 Main Document
                                          Pg 1 of 3
                                                HEARING TIME AND DATE: (TBD)
                                                OBJECTION DEADLINE: October 25, 2019
                                                REPLY DEADLINE: November 15, 2019

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                               Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L.                    Case No. 18-11094 (SCC)
DE C.V., et al.                                      (Jointly Administered)

Debtors in a Foreign Proceeding.



GONZALO GIL-WHITE, PERSONALLY                        Adv. Pro. No. 19-01294
AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE
C.V.

                      Plaintiff,

              -against-

ALP ERCIL; ALTERNA CAPITAL
PARTNERS, LLC;
AMA CAPITAL PARTNERS, LLC;
ANDRES CONSTANTIN ANTONIUS-
GONZÁLEZ; ASIA RESEARCH AND
CAPITAL MANAGEMENT LTD.; CQS



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19-01294-scc      Doc 17     Filed 08/26/19 Entered 08/26/19 18:39:09           Main Document
                                          Pg 2 of 3



(UK) LLP; FINTECH ADVISORY, INC.;
DEUTSCHE BANK MÉXICO, S.A.,
INSTITUCIÓN DE BANCA MÚLTIPLE;
GARCÍA GONZÁLEZ Y BARRADAS
ABOGADOS, S.C.; GHL INVESTMENTS
(EUROPE) LTD.; JOHN FREDRIKSEN;
KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL BLAIR
HUNTER COCHRANE, JR; ORO NEGRO
PRIMUS PTE., LTD.; ORO NEGRO
LAURUS PTE., LTD.; ORO NEGRO
FORTIUS PTE., LTD.; ORO NEGRO
DECUS PTE., LTD.; ORO NEGRO
IMPETUS PTE., LTD.; PAUL MATISON
LEAND, JR.; ROGER ALAN BARTLETT;
ROGER ARNOLD HANCOCK; SEADRILL
LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                       Defendants.


                   NOTICE OF HEARING TO CONSIDER MOTION OF
                  SEADRILL LIMITED AND FINTECH ADVISORY INC.
                    TO DISMISS COMPLAINT FILED BY DEBTORS

         PLEASE TAKE NOTICE that on August 26, 2019, Seadrill Limited and Fintech

Advisory Inc. (collectively, “Movants”), filed a motion (the “Motion to Dismiss”) in the

Bankruptcy Court, pursuant to Federal Rule of Civil Procedure 12(b), as it is incorporated into

Rule 7012(b) of the Federal Rules of Bankruptcy Procedure, to dismiss the Complaint filed in the

above-captioned Adversary Proceeding [ECF ## 1,4 & 9] by Gonzalo Gil-White, Personally and

in his Capacity as Foreign Representative of Perforadora Oro Negro, S. De R.L. De C.V. and

Integradora De Servicios Petroleros Oro Negro, S.A.P.I. De C.V., the debtors herein

(collectively, the “Debtors”).

         PLEASE TAKE FURTHER NOTICE, that, pursuant to a Stipulation between the

Debtors, Movants and other defendants [ECF #8], Debtors shall file any opposition (the




01107591.1
19-01294-scc      Doc 17    Filed 08/26/19 Entered 08/26/19 18:39:09            Main Document
                                         Pg 3 of 3



“Objection”) to the Motion to Dismiss on or before October 25, 2019 and Movants shall file any

responses to the Objection on or before November 15, 2019. A hearing on the Motion to Dismiss

will be held at a time and location to be determined by the Bankruptcy Court.

Dated: New York, New York                           WILK AUSLANDER LLP
       August 26, 2019
                                                    By: /s/ Julie Cilia
                                                         Jay S. Auslander
                                                         Eric J. Snyder
                                                         Natalie Shkolnik
                                                         Julie Cilia
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                                                    Counsel for Seadrill Limited and Fintech
                                                    Advisory Inc.




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